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                     BEFORE THE UNITED STATES JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION

                                                        :
IN RE:                                                  :
                                                        :
AT&T INC. CUSTOMER DATA                                 :       MDL NO. 3114
SECURITY BREACH LITIGATION                              :
                                                        :
                                                        :


       RESPONSE OF BRIAN PATTERSON IN SUPPORT OF CONSOLIDATION
                     PURSUANT TO 28 U.S.C. § 1407 AND
        TRANSFER OF ACTIONS TO THE NORTHERN DISTRICT OF TEXAS

         Brian Patterson (“Plaintiff”), plaintiff in Patterson, et al. v. AT&T, Inc., N.D. Texas No.

3:24-cv-00875, respectfully submits this brief in response to the pending motion filed by Alex

Petroski requesting transfer of all related actions to the Northern District of Texas for

consolidation. [Doc. 2.]

         Plaintiffs agree with Mr. Petroski that the numerous overlapping cases should be

transferred to a single district for pretrial proceedings and that the Northern District of Texas is the

most appropriate transferee district. For all the reasons ably articulated by Mr. Petroski’s moving

papers, which Plaintiff fully adopts as if restated herein, Plaintiff respectfully requests that this

Honorable Panel transfer the related actions, as well as all subsequently filed related actions, to

the Northern District of Texas for coordinated and consolidated pretrial proceedings.



Dated: April 25, 2024                           Respectfully submitted,

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